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                                       NO. 2017-65533

MARCUS WILSON,                        §                       IN THE DISTRICT COURT OF
    Plaintiff,                        §
                                      §
v.                                    §
                                      §                          HARRIS COUNTY, TEXAS
TEICHMAN GROUP, LLC, T&T MARINE, §
INC., EXPRESS PROFESSIONAL            §
SERVICES, INC. & OSG LIGHTERING, LLC, §
       Defendants.                    §                         190TH JUDICIAL DISTRICT


          TEICHMAN GROUP, LLC AND T&T MARINE, INC.’S
       RESPONSES TO PLAINTIFF’S REQUEST FOR DISCLOSURES

To:     Plaintiff Marcus Wilson, by and through his attorney of record, Anthony G. Buzbee, The
        Buzbee Law Firm, 600 Travis, Suite 6850, Houston, Texas 77002.

        Pursuant to the Texas Rules of Civil Procedure, Defendants serve the attached

Disclosures.

                                           Respectfully submitted,

                                           SCHOUEST, BAMDAS, SOSHEA &
                                           BENMAIER, PLLC

                                           /s/ Susan Noe Wilson
                                           SUSAN NOE WILSON
                                           State Bar No. 15055025
                                           snoewilson@sbsblaw.com
                                           MICHAEL W. HOGUE
                                           State Bar No. 09809800
                                           mhogue@sbsblaw.com
                                           1001 McKinney, Suite 1400
                                           Houston, TX 77002
                                           Phone: 713-588-0446
                                           Fax: 713-574-2942
                                           ATTORNEYS FOR DEFENDANTS
                                           TEICHMAN GROUP, LLC AND
                                           T&T MARINE, INC.


                                                                            PLAINTIFF'S
                                                                                           exhibitsticker.com




                                                                              EXHIBIT

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                              CERTIFICATE OF SERVICE

        I hereby certify that on January 12, 2017, in accordance with the Texas Rules of Civil
Procedure, a true and correct copy of the foregoing has been served on all known counsel of
record.


                                           /s/ Susan Noe Wilson
                                           Susan Noe Wilson




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                        DEFENDANTS’ RESPONSE TO
                   PLAINTIFF’S REQUEST FOR DISCLOSURES

(a)     the correct names of the parties to the lawsuit;

        RESPONSE: Defendants have been correctly identified, but are not proper parties to this
                  lawsuit.

(b)     the name, address, and telephone number of any potential parties;

        RESPONSE: T&T Offshore, Inc.
                  c/o Susan Noe Wilson
                  Schouest, Bamdas, Soshea & BenMaier, PLLC

                       Houston, TX 77002


                       Express Services, Inc. d/b/a Express Employment Professionals

                       Texas City, TX 77591


                       Cheramie Marine LLC

                       Larose, LA 70373


(c)     the legal theories and, in general, the factual bases of your claims or defenses;

        RESPONSE: Plaintiff lacks the capacity and/or standing to sue as alleged in his Petition.

                       Defendants generally deny each of the material allegations made in
                       Plaintiff’s Petition and generally deny they committed any acts and/or
                       omissions of negligence and/or proximately caused, contributorily cause,
                       or were the producing cause in the acts, omissions, negligence, and/or
                       conduct of fault with respect to Plaintiff’s claims forming the basis of this
                       lawsuit. If Plaintiff was damaged as alleged, such damages, if any, were
                       proximately caused or occasioned by the acts, omissions or contributory
                       negligence or other legal liability of third parties, their agents or
                       representatives, or by the instrumentalities of third parties for whom
                       Defendants are not liable. Plaintiff’s damages, if any, were the result of an
                       unavoidable accident. Defendants further assert that Plaintiff is not entitled
                       to recover punitive damages as alleged. Please refer to Defendant’s latest
                       Answer, discovery responses and expert witness designation. Defendant
                       will supplement as discovery continues.


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(d)     the amount and any method of calculating your alleged economic damages;

        RESPONSE: Defendants are not seeking economic damages at this time. Defendants
                  will supplement their response as required by the Rules.

(e)     the name, address, and telephone number of persons having knowledge of relevant facts,
        and a brief statement of each identified person’s connection with the case;
        RESPONSE:

         Marcus Wilson                              Plaintiff
         Anthony G. Buzbee
         The Buzbee Law Firm
         600 Travis, Suite 6850
         Houston, Texas 77002
         T&T Offshore, Inc.                         Employees, witnesses and
         c/o Susan Noe Wilson                       representatives of T&T Offshore, Inc.
         Schouest, Bamdas, Soshea & BenMaier        may have knowledge regarding the
                                                    allegations asserted by Plaintiff
         Houston, TX 77002

         Express Services, Inc.                     Employees, witnesses and
                                                    representatives of Express Services, Inc.
         Texas City, TX 77591                       may have knowledge regarding the
                                                    allegations asserted by Plaintiff
         Cheramie Marine LLC                        Employees, witnesses and
                                                    representatives of Cheramie Marine
         Larose, LA 70373                           LLC may have knowledge regarding
                                                    the allegations asserted by Plaintiff
         Ligthering, LLC                            Employees, witnesses and
         (formerly OSG Lightering LLC)              representatives of OSG Lightering,
                                                    LLC may have knowledge regarding
                                                    the allegations asserted by Plaintiff
         Houston, Texas 77060

         Jeff Tinney                                Employee of T&T Offshore, Inc. may
         c/o Robert Klawetter                       have knowledge regarding the
                                                    allegations asserted by Plaintiff
         Mario Ruiz, Jr.                            Employee of OSG Lightering LLC may
         c/o Michael Bell                           have knowledge regarding the
                                                    allegations asserted by Plaintiff
         Mario Ruiz, Sr.                            Employee of OSG Lightering LLC may
         c/o Michael Bell                           have knowledge regarding the
                                                    allegations asserted by Plaintiff




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         Marisa Ambriz                                Knowledge regarding paternity issues,
         Angela Yvonne Carlisle                       Plaintiff’s relationship with the decedent
                                                      and the allegations asserted by Plaintiff.

         c/o A. G. Crouch




(f)     for any testifying expert:
        (1)     the expert’s name, address, and telephone number;
        (2)     the subject matter on which the expert will testify;
        (3)     the general substance of the expert’s mental impressions and opinions and a brief
                summary of the basis for them, or if the expert is not retained by, employed by, or
                otherwise subject to your control, documents reflecting such information
        (4)     if the expert is retained by, employed by, or otherwise subject to your control;
                (a)     All documents, tangible things, reports, models, or data compilations that
                        have been provided to, reviewed by, or prepared by or for the expert in
                        anticipation of the expert’s testimony;
                (b)     the expert’s current resume and bibliography;

        RESPONSE: Defendants have not yet retained testifying experts.

(g)     any discoverable indemnity and insuring agreements;

        RESPONSE: Defendants are seeking indemnity from OSG Lightering LLC, Cheramie
                  Marine LLC and/or Express Services, Inc.

(h)     any discoverable settlement agreements;

        RESPONSE: None, other than those already in possession of Plaintiff’s counsel.

(i)     any discoverable witness statements;

        RESPONSE: None.

(j)     any medical records and bills that are reasonably related to the injuries or damages
        asserted or, in lieu thereof, an authorization permitting the disclosure of such medical
        records and bills;

        RESPONSE: Not applicable.

(k)     in a suit alleging physical or mental injury and damages from the occurrence that is the
        subject of the case, all medical records and bills obtained by the responding party by
        virtue of an authorization furnished by the requesting party.




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        RESPONSE: Defendants will make copies of all records available to Plaintiff through
                  its records service. If Plaintiff would like copies of specific records,
                  Defendants ask that Plaintiff specifically identify those records and
                  Defendants will have a copy service deliver same with an invoice.
                  Alternatively, if Plaintiff wishes to review all records, Defendants will
                  produce same for inspection at Defendants’ counsel’s office during
                  business hours and upon reasonable notice.

(l)     The name, address, and telephone number of any person who may be designated as a
        responsible third party.

        RESPONSE: Express Services, Inc. d/b/a Express Employment Professionals

                     Texas City, TX 77591


                     Cheramie Marine LLC

                     Larose, LA 70373




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